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                        IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH


UNITED STATES OF AMERICA,

                       Plaintiff,                        MEMORANDUM DECISION AND
                                                                 ORDER
vs.
                                                               Case No. 2:19CR75DAK
EDDISON ORRIN PIAPOT,
                                                                 Judge Dale A. Kimball
                       Defendant.



       This matter is before the court on Defendant Eddison Orrin Piapot’s Emergency Motion for

Furlough to Attend Mother’s Funeral. Defendant seeks a fourteen hour furlough from 6:00 a.m. to

8:00 p.m. on Monday October 5, 2020. .

       On February 18, 2020, Defendant pleaded guilty to one count of violating 18 U.S.C. §

922(g)(1), Felon in Possession of a Firearm, and is awaiting sentencing. Because Defendant has

pleaded guilty, 18 U.S.C. § 3143 governs his detention. Section 3143 states that “the judicial

officer shall order that a person who has been found guilty of an offense and who is awaiting

imposition or execution of sentence . . . be detained” unless the court finds by a clear and

convincing standard that there is no risk of fight or danger to the community.

       In the court’s two previous orders denying Defendant’s prior requests for furloughs, the

court has explained that Defendant criminal history, including alcohol and substance abuse, assault

and domestic violence, suggest that he poses a danger to the community. Defendant asserts that

the danger will be ameliorated because of the limited time of the furlough and his sister Orie
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Nephi is personally willing to be responsible for Defendant’s compliance.

       The court is willing to grant the furlough on the following conditions: (1) as Orie Nephi is

responsible for his compliance with the conditions of release, Defendant must be in Orie Nephie’s

presence at all times throughout the furlough; (2) Orie Nephi must pick Defendant up at the Weber

County Jail at 6:00 a.m. on October 5, 2020, accompany him to the funeral at the Hullinger

Mortuary in Randlett, Utah, and accompany him back to the jail; (3) Defendant is not allowed to

go anywhere but the funeral during his furlough; (4) Defendant may not consume any alcohol or

controlled substances while on release; (5) Defendant shall have no contact with any of the people

involved in the facts of this case; and (6) Defendant shall check back in at the Weber County Jail

before 7:00 p.m. on October 5, 2020.

       Accordingly, Defendant Eddison Orrin Piapot’s Emergency Motion for Furlough to Attend

Mother’s Funeral is GRANTED as stated above.

       DATED this 2d day of October, 2020.

                                             BY THE COURT



                                             DALE A. KIMBALL
                                             United States District Judge




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